
OVERTON, Justice.
This is a petition to review a decision of the Third District Court of Appeal reported as Allstate Insurance Co. v. Alvarez, 414 So.2d 224 (Fla. 3d DCA 1982). The district court certified this case as being in direct conflict with the Fifth District Court of Appeal’s decision in Harbach v. New Hampshire Insurance Group, 413 So.2d 1216 (Fla. 5th DCA 1982). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.
*1387We have resolved this conflict in our decision in New Hampshire Insurance Group v. Harbach, 439 So.2d 1383 (Fla.1983). For the reasons expressed in that decision, we approve the decision of the district court in the instant case.
It-is so ordered.
ALDERMAN, C.J., and McDONALD, EHRLICH and SHAW, JJ., concur.
BOYD, J., dissents with an opinion.
ADKINS, J., dissents.
